                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

DANIEL AHNERT, ET AL. ,

                     Plaintiffs,
                                                      Case No. 10-cv-156-pp
v.

EMPLOYERS INSURANCE COMPANY OF WAUSAU, ET AL,

                  Defendants.
______________________________________________________________________________

                          CIVIL PRETRIAL ORDER
______________________________________________________________________________

      In preparation for trial, the court ORDERS that all counsel who will try

this case shall meet and confer, and shall make a good-faith effort to prepare a

single final pretrial report. The parties shall file that final pretrial report no

later than April 25, 2018, and the principal burden for filing the report rests

with counsel for the plaintiff. The final pretrial report shall include the

following:

      1.       A brief summary of the claims, which the court will read to the

venire during jury selection to inform them of the nature of the case and the

identities of the parties;

      2.       A statement of the issues;

      3.       The anticipated length of the trial;

      4.       Any stipulations the parties have reached;




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      5.       The name, occupation, and city of residence of each potential

witness. The court will not permit a party to call in its case-in-chief any witness

not listed, absent a showing of good cause;

      5.       A short narrative statement detailing the background and

qualifications of any expert witness whom either party expects to testify;

      6.       A complete list of all exhibits the parties expect to offer or reference

during the trial. The parties shall pre-mark all exhibits, using the numbering

system the court has laid out in its procedures. See

www.wied.uscourts.gov/judges/pamela-pepper (Tips for Practicing Before

Judge Pepper, page 8, §VI(H). The parties shall disclose, and provide to,

opposing counsel copies of the exhibits they plan to use at trial. If both parties

plan to use the same exhibit, the parties shall mark that exhibit with only one

exhibit number;

      7.       A designation of all depositions or portions of transcripts or other

recordings of depositions to be read into the record or played at trial as

substantive evidence. A party must show good cause to read or play more than

five pages from a deposition;

      8.       Proposed nonstandard voir dire questions. See

www.wied.uscourts.gov/judges/pamela-pepper (Tips for Practicing Before

Judge Pepper, page 9, §VII(D));

      9.       A list of proposed Seventh Circuit pattern jury instruction numbers

(not the text of the instructions themselves), and the text of any proposed non-

pattern instructions;


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      10.    A proposed verdict form;

      11.    A statement regarding whether the parties want the court to

provide a court reporter; and

      12.    A statement as to how many jurors the parties wish to select.

      If, after making a good-faith effort, the parties can’t agree on particular

voir dire questions, jury instructions, or forms of verdict, the party proposing

the contested questions, instructions or verdict forms shall file its proposals

separately, and shall include any case law, argument or other legal support for

those proposals. The parties shall file their exhibit lists, voir dire questions,

jury instructions, and verdict forms as PDF attachments to the final pretrial

report. In addition, the parties shall e-mail a Word version of each of those

documents to Judge Pepper’s proposed order e-mail box:

PepperPO@wied.uscourts.gov.

      Parties planning to present their evidence electronically shall contact

chambers at least a week before trial, to schedule a time to come into the

courtroom and test their equipment.

      Dated in Milwaukee, Wisconsin this 13th day of December, 2017.

                                 BY THE COURT:



                                 _____________________________________
                                 HON. PAMELA PEPPER
                                 United States District Judge




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